Case 2:12-cv-02837-SHM-cgc Document 18 Filed 02/14/13 Page 1 of 2                      PageID 161



                             IN THE UNITED STATES DISTRICT COURT
                            FOR THE WESTERN DISTRICT OF TENNESSEE
                                       WESTERN DIVISION


TANYA GILBERT,

         Plaintiff,

vs.                                                           Docket No. 2:12-cv-02837-SHM-cgc

NATIONWIDE PROPERTY AND
CASUALTY INSURANCE COMPANY,

         Defendant.



                                  STIPULATION OF DISMISSAL


         All parties to this action, having resolved all of the matters in dispute by compromise and

settlement, hereby stipulate to the dismissal of all claims asserted in this action with prejudice,

pursuant to Rule 41 of the Federal Rules of Civil Procedure. Each party shall bear its own costs.

Any remaining court costs shall be assessed against Nationwide.

                                                      Respectfully submitted,

                                                      BAKER, DONELSON, BEARMAN,
                                                      CALDWELL & BERKOWITZ, PC

                                                      By: /s/ Steven W. King
                                                          Bruce A. McMullen (#18126)
                                                          Steven W. King (#25506)
                                                          First Tennessee Building
                                                          165 Madison Ave., Suite 2000
                                                          Memphis, TN 38103
                                                          901.526.2000
                                                          bmcmullen@bakerdonelson.com
                                                          sking@bakerdonelson.com

                                                           Attorneys for Nationwide Property and
                                                           Casualty Insurance Company




M SWK 2380046 v1
1034041-000047 02/14/2013
Case 2:12-cv-02837-SHM-cgc Document 18 Filed 02/14/13 Page 2 of 2                  PageID 162



                                                   By: /s/ R. Sadler Bailey
                                                       R. Sadler Bailey (#11230)
                                                       Nicole Gibson Davison (#24442)
                                                       6256 Poplar Avenue
                                                       Memphis, TN 38119
                                                       901.680.9777
                                                       sbailey@baileygreer.com
                                                       ndavidson@baileygreer.com

                                                       Attorneys for Plaintiff

                               CERTIFICATE OF SERVICE

        The undersigned hereby certifies that on this 14th day of February, 2013, a copy of the
foregoing was electronically filed and served on the parties listed below via first class mail,
postage prepaid, unless said party is a registered CM/ECF participant who has consented to
electronic notice, and the Notice of Electronic Filing indicates that Notice was electronically
mailed to said party:
                            R. Sadler Bailey
                            John Zuck
                            Nicole Gibson Davison
                            6256 Poplar Avenue
                            Memphis, TN 38119


                                                   /s/ Steven W. King




                                              2

M SWK 2380046 v1
1034041-000047 02/14/2013
